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 15                        IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 16

 17     CALIFORNIA DEPARTMENT          )                     Case No. 2:20-cv-11293-SVW-JPR
        OF TOXIC SUBSTANCES            )
 18     CONTROL, et al.                )                     DEFENDANT NL INDUSTRIES,
 19                                    )                     INC.’S NOTICE OF MOTION AND
                           Plaintiffs, )                     MOTION FOR PARTIAL SUMMARY
 20                                    )                     JUDGMENT; MEMORANDUM OF
 21     v.                             )                     POINTS AND AUTHORITIES IN
                                       )                     SUPPORT THEREOF
 22     NL INDUSTRIES, INC., et al.    )                     Date: May 23, 2022
 23                                    )                     Time: 1:30 p.m.
                           Defendants. )                     Place: Courtroom 10A
 24                                    )                     Before: Hon. Stephen V. Wilson
 25                                    )                     Complaint Filed: December 14, 2020
                                       )                     Phase 1 Trial Date: May 11, 2022
 26                                    )                     Time: 9:00 a.m.
 27     ____________________________ )                       (No trial date set on this issue)
                                                         i
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  1                            NOTICE OF MOTION AND MOTION
  2          TO PLAINTIFF AND TO ITS ATTORNEYS OF RECORD:
  3          PLEASE TAKE NOTICE that on May 23, 2022 at 1:30 p.m. in the courtroom
  4   of the Honorable Stephen V. Wilson, located in Courtroom 10A on the 10th Floor of
  5   the First Street Courthouse, 350 W. 1st Street, Los Angeles, California 90012,
  6   Defendant NL Industries, Inc. (“NL”) will and hereby does move for partial
  7   summary judgment against Plaintiff California Department of Toxic Substances
  8   Control and the Toxic Substances Control Account’s (“DTSC” or “California”)
  9   pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.
 10          NL bases the Motion on this Memorandum of Points and Authorities, the
 11   Statement of Uncontroverted Facts and Conclusions of Law, the Declaration of John
 12   Powers, the concurrently lodged Proposed Order; and on such oral argument and
 13   evidence that may be represented at the hearing.
 14          PLEASE TAKE FURTHER NOTICE that, pursuant to L.R. 7-9 and 7-10, an
 15   opposition, if any, shall be served at least twenty-one (21) days before the motion
 16   hearing date and a reply brief may be filed no later than May 9, 2022.
 17          This Motion is made following the conference of counsel pursuant to L.R. 7-
 18   3. On March 18, 2022, counsel for Plaintiff and I, Joel L. Herz, conducted a
 19   conference via telephone pursuant to L.R. 7-3 to discuss the substance of NL’s
 20   contemplated Motion for Partial Summary Judgment. The conference did not
 21   resolve this motion as Plaintiff’s counsel disagreed with the arguments presented.
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  1   DATED: April 22, 2022
  2
      LAW OFFICES OF JOEL L. HERZ                            ELKINS KALT WEINTRAUB
  3                                                          RUEBEN GARTSIDE LLP
  4
      /s/ Joel L. Herz                                       /s/ Kenneth A. Ehrlich
  5

  6   Counsel for NL Industries, Inc.

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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2          Defendant NL Industries, Inc. (“NL”) submits this Memorandum of Law in
  3   Support of its Motion for Partial Summary Judgment as to Plaintiff California
  4   Department of Toxic Substances Control and the Toxic Substances Control
  5   Account’s (“DTSC” or “California”) Complaint pursuant to Fed. R. Civ. P. 56 and
  6   L.R. 56.
  7                                              ARGUMENT
  8                                  SUMMARY OF ARGUMENT
  9          The question in Pakootas v. Teck Cominco Metals, Ltd., 830 F.3d 975 (9th
 10   Cir. 2016) (“Pakootas III”) was a simple one:
 11          When a smelter emits lead, arsenic, cadmium, and mercury
 12          compounds         through       a   smokestack   and   those    compounds
 13          contaminate land or water downwind, can the owner-operator of
 14          the smelter be held liable for cleanup costs and natural resource
 15          damages under the Comprehensive Environmental Response,
 16          Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §
 17          9607(a)(3)?
 18   Pakootas III, 830 F.3d at 978 (emphasis added).
 19          The Ninth Circuit unequivocally answered this question, stating:
 20          “we must answer no.”
 21   Id. (emphasis and underline added).
 22          The Ninth Circuit did not provide District Courts with a choice. As stated
 23   unequivocally by the Ninth Circuit – the answer must be no.
 24          The question presented by NL’s Motion for Partial Summary Judgment is
 25   identical to the one that the Ninth Circuit faced in 2016 in Pakootas III:
 26

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  1          Can NL be held liable for emitting lead through a smokestack that
  2          traveled through the air, downwind to residential areas at least one-half
  3          mile away?
  4          The Ninth Circuit has supplied the answer -- and it must be no. There is no
  5   other choice.
  6          At the Motion to Dismiss phase, to avoid Pakootas III’s dictate that a former
  7   owner of a lead smelter cannot be liable for the cleanup of airborne lead emissions
  8   that allegedly traveled to the Residential Areas more than one-quarter mile away
  9   from the Exide Plant, DTSC argued:
 10          “Plaintiffs do not rely on aerial deposition as “disposal” for
 11          purposes of CERCLA liability”.
 12   See Docket No. 72, page 1, lines 25- 26. (emphasis and underline added)
 13          But the undisputed truth has now been laid bare.
 14          DTSC’s Rule 30(b)(6) witness, Peter Ruttan, swore under oath:
 15          “I’m not aware of any other pathways that would contribute to the
 16          lead in residential areas other than airborne emissions.”
 17   SUF 23. (emphasis and underline added)
 18          With this fact now undisputed – nothing else matters. NL cannot be held liable
 19   under the dictates of Pakootas III for air lead emissions out of a smokestack (or, for
 20   the same reason, air lead emissions from a vent, window, or door), and all claims for
 21   cleanup costs in the Residential Areas must be dismissed.
 22                                      SUMMARY OF FACTS
 23          This case involves two entirely distinct and physically separated areas.
 24          One area -- the Exide Plant (“Exide Plant”) -- is less than 14 acres and is
 25   located in the center of an industrial area in Vernon, California. Statement of
 26   Undisputed Facts and Conclusions of Law (“SUF”) 1-4. The second area -- the
 27   residential areas (“Residential Areas”) -- is over 10 square miles (6,400 acres) and
 28                                                      2
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  1   contains approximately 10,000 residential properties located in various cities and
  2   unincorporated areas outside the Vernon industrial area. SUF 9, 10. The area of land
  3   that DTSC alleges NL formerly owned or operated -- the Exide Plant -- is no more
  4   than 0.218 percent of the size of the Residential Area. SUF 11. NL never owned or
  5   operated any of the Residential Areas. SUF 12.
  6          DTSC’s Rule 30(b)(6) witness, Peter Ruttan, has now admitted that the only
  7   way lead traveled from the Exide Plant to the Residential Areas was via air
  8   emissions, as follows:
  9          “I’m not aware of any other pathways that would contribute to the
 10          lead in residential areas other than airborne emissions.”
 11   SUF 23. (emphasis and underline added)
 12                                                POINT I
 13           DTSC’S CLAIM FOR COST RECOVERY FOR THE OFF-SITE
 14   RESIDENTIAL AREAS ON THE BASIS THAT NL IS A PAST OWNER OR
 15         OPERATOR OF THE EXIDE PLANT MUST BE DISMISSED AS A
 16                                         MATTER OF LAW.
 17          Under Section 107(a) of CERCLA, liability can be imposed on four classes
 18   of persons (known in CERCLA parlance as “potentially responsible parties” or
 19   “PRPs”):
 20
             1.      the owner and operator of a vessel or a facility,
 21
             2.      any person who at the time of disposal of any hazardous
 22
                     substance owned or operated any facility at which such
 23
                     hazardous substances were disposed of,
 24
             3.      any person who by contract, agreement, or otherwise arranged
 25
                     for disposal or treatment, or arranged with a transporter for
 26
                     transport for disposal or treatment, of hazardous substances
 27

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   1                  owned or possessed by such person, by any other party or entity,
   2                  at any facility or incineration vessel owned or operated by
   3                  another party or entity and containing such hazardous
   4                  substances, and
   5          4.      any person who accepts or accepted any hazardous substances
   6                  for transport to disposal or treatment facilities, incineration
   7                  vessels or sites selected by such person. . . .
   8   42 U.S.C. § 9607 (emphasis and italics added).
   9          DTSC alleges that NL is liable for response costs to address soil lead
 10    contamination in the Residential Areas solely as an alleged former owner/operator
 11    under CERCLA § 107(a)(2). Unlike CERCLA § 107(a)(1) (current owner/operator
 12    liability), CERCLA § 107(a)(2)(former owner/operator, requires that DTSC prove
 13    that NL is a person “who at the time of disposal of any hazardous substance owned
 14    or operated any facility at which such hazardous substances were disposed of”
 15    (emphasis added). 42 U.S.C. § 9607 (a)(2). The properties within the Residential
 16    Areas were not facilities owned by NL “at which” a “disposal” occurred.
 17           CERCLA defines “disposal” for purposes of CERCLA § 107(a) by cross-
 18    referencing to the definition of “disposal” in RCRA, see 42 U.S.C. § 9601(29),
 19    which defines “disposal” as follows:
 20           The term "disposal" means the discharge, deposit, injection, dumping,
 21           spilling, leaking, or placing of any solid waste or hazardous waste into
 22           or on any land or water so that such solid waste or hazardous waste or
 23           any constituent thereof may enter the environment or be emitted into
 24           the air or discharged into any waters, including ground waters.
 25    42 U.S.C. § 6903(3) (emphasis added).
 26           It is undisputed that: (1) NL never owned or operated any location in the
 27    Residential Areas where hazardous substances have come to be located, and (2) any
 28                                                       4
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   1   alleged airborne lead emissions from the former Exide Plant that theoretically
   2   reached the Residential Areas were not hazardous substances “disposed of” at the
   3   Residential Areas within the meaning of CERCLA. Accordingly, with regard to
   4   locations in the Residential Areas, NL cannot constitute a person “who at the time
   5   of disposal of any hazardous substance owned or operated any facility at which such
   6   hazardous substances were disposed of” and cannot be liable under CERCLA.
   7          In Pakootas v. Teck Cominico Metals, Ltd., 830 F.3d 975, 978 (9th Cir. 2016),
   8   the Ninth Circuit ruled that CERCLA “disposal” does not, as a matter of statutory
   9   construction, encompass the dispersal of airborne materials emitted from a lead
 10    smelter, even if it is assumed that such materials eventually contaminate downwind
 11    properties.
 12           In Pakootas, the plaintiffs alleged that the owner of a Canadian lead smelter
 13    “arranged for disposal” of hazardous substances, withing the meaning of CERCLA
 14    § 107(a)(3), by emitting them into the air, after which air currents carried them to
 15    the Upper Columbia River Site, where they eventually settled to the ground.
 16    Pakootas, 830 F.3d at 979.
 17           Based on extended consideration of the statutory text, the common meanings
 18    of the relevant terms, applicable Ninth Circuit precedent and relevant legislative
 19    history, the Ninth Circuit concluded as a matter of statutory construction that the
 20    passive dispersal of air emissions from a lead smelter cannot amount to a “deposit”
 21    of hazardous substances “into or on any land or water”, and thus did not fall within
 22    CERCLA’s definition of “disposal.” Pakootas, 830 F.3d at 983-84.
 23           As dictated by Pakootas, airborne “releases” of hazardous substances into a
 24    particular geographic area do not become actionable if a party separately engages in
 25    “disposal” in some other area within the meaning of CERCLA.
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   1          In response to NL’s Motion to Dismiss, DTSC argued that Pakootas does not
   2   apply because “Plaintiffs do not rely on aerial deposition as “disposal” for
   3   purposes of CERCLA liability”. See Docket No. 72, page 1, lines 25- 26.
   4          But DTSC has now conceded that the Residential Areas were only allegedly
   5   contaminated through the aerial deposition of contaminants emitted from the Exide
   6   Plant. As stated by DTSC’s Rule 30(b)(6) witness, Peter Ruttan: “I’m not aware of
   7   any other pathways that would contribute to the lead in residential areas other
   8   than airborne emissions.” SUF 23. Under Pakootas’ interpretation of the statutory
   9   language, such impacts do not arise from “disposal” and thus NL cannot be liable
 10    under CERCLA. See also Center for Community Action and Environmental Justice,
 11    764 F.3d 1019, 1024 (9th Cir. 2014) (under RCRA’s definition, “’disposal’ does not
 12    extend to emissions of solid waste directly into the air.”); cf. Carson Harbor Village,
 13    Ltd. v. Unocal Corporation, 270 F.3d 863, 887 (9th Cir. 2001) (en banc) (Under
 14    CERCLA § 107(a)(2), “disposal” does not encompass the gradual passive migration
 15    of contaminants through soil after their initial release).
 16           Moreover, as noted below, DTSC actually participated in the Ninth Circuit
 17    2016 Pakootas appeal as amicus curiae, arguing unsuccessfully against the ultimate
 18    holding. In fact, DTSC specifically acknowledged before the Ninth Circuit that the
 19    circumstances of the Exide Plant were analogous to the fact pattern at issue in
 20    Pakootas and raised the specter of this future litigation, correctly observing that the
 21    holding ultimately adopted by the Ninth Circuit would leave “contamination caused
 22    by Exide outside the scope of the HSAA or CERCLA because the hazardous
 23    substances were, initially, emitted into the air.”
 24           DTSC cannot now reasonably ask this Court to disregard the legal analysis
 25    and holding in Pakootas so as to hand DTSC the very outcome that DTSC could not
 26    persuade the Ninth Circuit to adopt.
 27

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   1          DTSC’s concocted disposal/release theory to avoid Pakootas has no legal
   2   basis. In fact, the smelter at issue in Pakootas had separately “disposed of” massive
   3   amounts of lead-bearing slag by dumping it directly into the river and separately
   4   incurred CERCLA liability arising from that disposal.          See Pakootas v. Teck
   5   Cominco Metals, Ltd., 905 F.3d 565, 571 (9th Cir. 2018) (noting that “dispute
   6   centered on Teck Metals’ liability for dumping several million tons of industrial
   7   waste into the Columbia River.”); see also Pakootas III, 830 F.3d at 979, n. 2 (“Teck
   8   stipulated that it had dumped slag into the Columbia River . . .[and] the district court
   9   found Teck liable . . . ”). This did not, however, prevent the Ninth Circuit from
 10    holding that CERCLA liability did not attach to the smelter’s airborne emissions.
 11           Contrary to the DTSC's position in the previous Motion to Dismiss, the
 12    Pokootas plant’s location in Canada has no legal significance. Indeed, the Ninth
 13    Circuit directly rejected that the plant’s location in Canada affected the analysis of
 14    the Ninth Circuit’s rulings. Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d 565,
 15    573 (9th Cir. 2018) (“We held that the suit did not involve an extraterritorial
 16    application of CERCLA because Teck’s pollution had "come to be located" in the
 17    United States.” (emphasis added)).
 18           As the HSAA employs the same liability standard as CERCLA and the same
 19    definition of “disposal,” DTSC’s HSAA aerial deposition claim meets the same fate
 20    as the CERCLA claim: off-site impacts attributable solely to the aerial deposition
 21    of emissions from the Exide Plant are not compensable as “disposals” under
 22    CERCLA or the HSAA.
 23                                                 POINT II
 24        THE EXIDE PLANT AND THE RESIDENTIAL AREAS ARE NOT A
 25                                  SINGLE UNITARY FACILITY.
 26           To avoid the holding of Pakootas, DTSC has argued that the Exide Plant and
 27    the Residential Areas are a “single unitary facility”. This label does not matter
 28                                                       7
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   1   because under the plain language of CERCLA § 107(a)(2), NL must be the owner
   2   of the facility “at which” the hazardous substances were disposed to incur liability
   3   under this provision. 42 U.S.C. § 9607(a)(2). But NL has never owned or operated
   4   any property within the Residential Areas. Regardless, courts that have addressed
   5   the CERCLA definition of “facility” for determining the scope and breadth of
   6   CERCLA liability have consistently ruled that separately owned and geographically
   7   separated properties are not a “single unitary facility” under CERCLA when:
   8          •       the different properties do not have a single source of contamination
   9   (SUF 21);
 10           •       the governing entity making cleanup decisions has treated the two
 11    different areas as separate facilities (SUF 22);
 12           •       the separate properties are not contiguous or adjacent (SUF 9, 10);
 13           •       the separate properties are separated by physical distance of at least
 14    one-half mile (SUF 3);
 15           •       the separate properties have geographical features that separate them
 16    such as a large railyard or a river (SUF 6-8);
 17           •       the separate properties do not have the same cleanup plan (SUF 13);
 18    and
 19           •       the separate properties were never under common ownership or
 20    commonly operated (SUF 14).
 21    See, e.g. Niagara Mohawk, Alprof, Thiokol and Brooklyn Union discussed below.
 22           Yet, DTSC claims that the Exide Plant and the Residential Areas are one single
 23    unitary facility when all of the factors support NL. The case law does not support
 24    DTSC's position.
 25           A. NONE OF THE FACTORS SUPPORT DTSC
 26           First, the Exide Plant and the Residential Areas do not have a single source of
 27    contamination. SUF 21. Lead from battery recycling operations impact the Exide
 28                                                       8
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   1   Plant. Residential uses including lead paint, leaded gasoline and leaded pesticides
   2   impact the Residential Areas. Indeed, DTSC’s own expert, Dr. Allen Medine, states
   3   that lead paint is a source of lead in the Residential Areas contributing somewhat
   4   less than 35 tons to the lead mass. SUF 21. See excerpts from Expert Report of
   5   Allen Medine, Ph.D. attached as Exhibit I to SUF at page 15 (emphasis added). Dr.
   6   Medine also states that leaded gasoline has released 974 tons of lead into the
   7   Residential Areas. Id. at pages 15 and 83. He has also identified a Bethlehem Steel
   8   Plant outside Vernon that has released 181 tons of lead into the Residential Areas.
   9   Id. at page 83.
 10           Moreover, as specified in the Rule 30(b)(6) deposition of Peter Ruttan,
 11    DTSC’s Rule 30(b)(6) deponent admitted that lead paint was found on many of the
 12    residential properties that DTSC is seeking money from NL for cleanup costs, as
 13    follows:
 14            13           Q. Was lead-based paint found on many of the
 15            14       10,000 residential properties?
 16            15           A. Lead-based paint has been found on -- on
 17            16       the residential properties, yes.
 18    SUF 20. See excerpt of Transcript of Peter Ruttan, DTSC Rule 30(b)(6), at page
 19    267, lines 13 – 16 attached as Exhibit C to SUF. (emphasis added)
 20           Thus, unlike situations where there is either a single factory, or a single defined
 21    off-site water contamination plume, such that it might make sense to determine a
 22    “single unitary site” because there is a “single unitary source of contamination”, there
 23    is no such unitary source here. Therefore, no basis exists for calling the 14-acre Exide
 24    Plant and the separate 6,400 acre Residential Area that is at least one-half mile, and
 25    up to over 2.2 miles away -- a single unitary site.
 26           Second, up to the point of filing the Complaint in this lawsuit, DTSC treated
 27    the Exide Plant as a separate facility from the Residential Areas. Indeed, DTSC
 28                                                       9
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   1   agreed to the Ninth Circuit that the two areas were separate and that the “facility” is
   2   the Exide Plant, and that Residential Areas are “off-site”:
   3          From 2000 to 2014, Exide Technologies (“Exide”) operated a
   4          battery recycling facility in Vernon, California, just south of
   5          downtown Los Angeles. The facility itself was in operation for 90
   6          years. … Exide’s practices caused airborne lead emissions from the
   7          facility to drift off-site and land in the surrounding community. As
   8          a result, the ground in the residential neighborhoods became
   9          contaminated with lead.
 10    (emphasis added). SUF 15. See DTSC Amicus Brief filed in Pakootas, Case No.
 11    15-35228, dated 10/13/2015, Docket 53, attached to the Reply Declaration of John
 12    Powers (“Powers Reply Decl.”) as Exhibit A, pp. 007-008, attached to SUF as
 13    Exhibit D. As discussed by DTSC in its amicus brief, the “facility” is the Exide
 14    Plant itself, the location from which the alleged pollution emanated. The Court must
 15    bind DTSC to this position. See e.g., Hamilton v. State Farm Fire Cas. Co., 270
 16    F.3d 778, 783 (9th Cir. 2001) (“The application of judicial estoppel is not limited to
 17    bar the assertion of inconsistent positions in the same litigation, but is also
 18    appropriate to bar litigants from making incompatible statements in two different
 19    cases.”). DTSC should not now be allowed to redefine “the facility” to include the
 20    Residential Areas.
 21           Third, the separate properties are not contiguous or adjacent. SUF 9, 10. The
 22    Exide Plant and the Residential Areas are in separate political and municipal
 23    jurisdictions, are separated by a physical distance of at least one-half mile (SUF 3),
 24    and are separated physically by a large railyard to the North, and the Los Angeles
 25    River to the South. SUF 5-8. The Residential Areas are zoned residential while the
 26    Exide Plant is zoned industrial. SUF 2.
 27           Fourth, the separate properties do not have the same cleanup plan. SUF 13.
 28                                                       10
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   1   The Residential Area plan is to remove yard soil. The Exide Plant plan is to clean
   2   and remove a recycling plant. SUF 16.
   3          Fifth, the Exide Plant and the Residential Areas were never under common
   4   ownership or commonly operated. SUF 14.
   5          None of the factors that would allow a court to combine the no more than 14
   6   acre Exide Plant and the separate and distinct 6,400 acre Residential Areas into a
   7   “single unitary facility” are present.
   8          B. NONE OF THE POLICY REASONS SUPPORT A UNITARY
   9             FACILITY THEORY

 10           First, if this Court determines the Exide Plant and the Residential Areas are a
 11    single unitary facility, the ramifications to current and former owners of each
 12    apartment building and house in the Residential Areas would be enormous. For
 13    example, if the Exide Plant and the 10,000 residential properties contained within
 14    the Residential Areas are all deemed to constitute one single site or facility, each and
 15    every current owner might be deemed a current owner or operator under CERCLA
 16    § 107(a)(1) of the entire 6,400 acre “facility”, and all are subject to being sued under
 17    CERCLA § 113 for any amounts that DTSC seeks from any party. Furthermore,
 18    each and every former owner could be deemed a former owner or operator of the
 19    entire 6,400 acre “facility” under CERCLA § 107(a)(2) and subject to suit under
 20    CERCLA § 113 for any amounts that DTSC seeks from any party. Thousands, if
 21    not tens of thousands, of parties would be joined to this lawsuit. DTSC should not
 22    be allowed to create such a morass for property owners in the Residential Area –
 23    some of whom may have limited means to pay, sue or defend litigation – and subject
 24    them to being part of this lawsuit by saying that their properties are all part of one
 25    large “facility” – when they are not.
 26           Second, unlike a factory that produces a man-made chemical that will only be
 27    found from a human manufacturing process, the contaminant in question is a
 28                                                       11
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   1   naturally occurring element, lead, ubiquitously found throughout Earth’s soils and
   2   air. DTSC’s own expert has freely stated that naturally occurring lead exists in soils
   3   throughout the Residential Areas and the agency's remedial efforts seek to achieve
   4   levels that approach or are above DTSC’s 80 ppm proposed cleanup levels. If the
   5   definition of a “facility” is merely predicated on where lead “otherwise came to be
   6   located”, a facility will have no bounds as there is naturally occurring lead
   7   everywhere, not to mention the lead contributed to these urban residential
   8   neighborhoods by paint, solder, leaded gasoline, pesticides, fertilizers and other
   9   localized sources.
 10           Third, since NL (and none of the other Defendants) never owned any of the
 11    properties within the Residential Areas, it had no ability to maintain or control the
 12    lead paint on those properties, or the leaded gasoline or other activities that may have
 13    contaminated those properties. As such, NL should have no liability.
 14           C. DTSC HAS ADMITTED THAT 1) THE EXIDE PLANT AND 2) THE
 15              RESIDENTIAL AREAS ARE NOT A SINGLE UNITARY
                 FACILITY
 16

 17           DTSC’s Rule 30(b)(6) deponent fully recognized that the Residential Areas

 18    and the Exide Plant are not a “single unitary site” as a matter of law. When asked in

 19    his Rule 30(b)(6) deposition if the Exide Plant and the Residential Areas were part of

 20    a single unitary facility, DTSC’s witness, Peter Ruttan, stated that he did not think it

 21    was, as follows:

 22                         1 Q. And the same question, was it ever a

 23                         2    single unitary facility of any kind?

 24                         3 A. I'm not sure I understand your question.

 25                         4 Could you define "unitary"?

 26                         5 Q. All commonly run for the same purpose.

 27                         6 MR. ROBINSON: Objection as to form.

 28                                                       12
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   1                        7 THE WITNESS: I don't believe so.
   2   (Emphasis added) SUF 22.
   3          D. THE RECORD IS NOW FULLY DEVELOPED SO THAT
   4             SUMMARY JUDGMENT CAN BE ENTERED IN FAVOR OF NL

   5          NL fully recognizes that this Court previously addressed the issue of whether
   6   the Exide Plant and the Residential Areas are a “single unitary facility” in deciding
   7   NL’s Motion to Dismiss. See Order on NL and Trojan Battery Motion to Dismiss
   8   (July 19, 2021), Docket No. 103. In previously addressing the issue of whether the
   9   Exide Plant and the Residential Areas should be considered a single unitary site, this
 10    Court stated:
 11            “The Court recognizes that the above cases and others contain
 12           language suggesting that the Court may have discretion to
 13           designate separate facilities. See Axel Johnson, Inc. v. Carroll
 14           Carolina Oil Co., Inc., 191 F.3d 409, 419 (4th Cir. 1999) (“This is not
 15           to say that every widely contaminated property must be considered a
 16           single facility.”); Cytec Indus., Inc., 232 F. Supp. 2d at 835 (“This court
 17           concludes that, where appropriate, the broadest geographical definition
 18           of a facility that is appropriate under the specific facts and
 19           circumstances of a given case would likely best advance CERCLA’s ...
 20           purposes.” (citation omitted and emphasis added)). However, any
 21           discretion the Court may possess to divide or limit the facility
 22           alleged in the complaint is better reserved for summary judgment
 23           with the benefit of a full record.”
 24    (emphasis added) See Order on NL and Trojan Battery Motion to Dismiss (July 19,
 25    2021), Docket No. 103, at page 15.
 26           NL respectfully submits that the parties have developed a sufficiently full
 27    record to resolve this issue. This Court should now determine that the Exide Plant
 28                                                       13
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   1   and the Residential Areas are separate facilities -- as DTSC had repeatedly said --
   2   right up until it filed this lawsuit, and as it told the Ninth Circuit in a formal pleading.
   3          In denying NL’s Motion to Dismiss, this Court noted that DTSC was the
   4   “master of its claim” (Docket 103 at page 13). The Court further stated it was
   5   inappropriate to dismiss NL’s Complaint because “Plaintiff here pleads widespread
   6   contamination, primarily of lead, from a single source, namely the Vernon Plant.”
   7   (Docket 103 at page 15). However, while NL disputes that any lead traveled off the
   8   Exide Plant, as noted above, DTSC has now admitted that there was not a “single
   9   source” of the contamination, the Vernon Plant as DTSC alleged in its Complaint;
 10    the agency now admits that multiple, additional contaminant sources exist including
 11    lead paint, leaded gasoline, and leaded pesticides. SUF 18.
 12           E. CASE LAW SUPPORTS NL'S POSITION THAT MULTIPLE
 13              "CONTAMINATING FACILITIES" EXIST, WHICH BARS
                 DTSC'S CERCLA CLAIMS
 14

 15           In Niagara Mohawk Power Corp. v. Consolidated Rail Corp., 291 F. Supp. 2d

 16    105 (N.D.N.Y. 2003), rev'd on other grounds, Niagara Mohawk Power Corp. v.

 17    Chevron U.S.A., Inc., 596 F.3d 112 (2d Cir. 2010), the plaintiff, Niagara Mohawk,

 18    operated a gas plant on a large site. Id. at 114. Niagara Mohawk brought a CERCLA

 19    § 107 case against various prior owners of portions of the site, which had since been

 20    broken up into separate parcels. Niagara Mohawk sought to designate as part of the

 21    gas plant “facility” an adjacent parcel of land onto which contamination from the

 22    plant had migrated. At the time of the litigation, Conrail owned this adjacent

 23    parcel. Id. at 114-15. The Niagara Mohawk court concluded that the adjacent

 24    Conrail parcel should not be considered part of one single unitary “facility” because

 25    the parcels were “‘reasonably or naturally divided into multiple parts or functional

 26    units.’” Id. at 125 (quoting United States v. 150 Acres of Land, 204 F.3d 698, 709

 27    (6th Cir. 2000)). The court rejected Niagara Mohawk’s attempts to integrate the

 28                                                       14
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   1   adjacent Conrail property into a single unitary facility as a means of holding Conrail
   2   liable under CERCLA. Id.
   3          In Alprof Realty LLC v. Corp. of the Presiding Bishop of the Church of Jesus
   4   Christ of Latter-Day Saints, No. 09-CV-5190 (CBA) (RER), 2012 WL 4049800
   5   (E.D.N.Y. Sep. 13, 2012) (unpublished), the District Court noted that, even though
   6   an entire property involved in the subject litigation fell within the statutory definition
   7   of “facility” because it is a site where a hazardous substance has come to be located,
   8   distinct portions of the property should be designated as a separate CERCLA facility
   9   for liability purposes. Id. at *5. The court rejected the claim that the parties’
 10    properties constitute a single “facility”. Id. at *8. Alprof concluded that, if the two
 11    properties “had been owned and operated together as a single waste disposal
 12    facility”, then the properties might be “designated a single CERCLA facility for
 13    liability purposes.” Id. But “no such relationship between the properties is alleged
 14    in this case.” Id. Alprof found that CERCLA does not “stand for the proposition
 15    that an unrelated neighboring property onto which contamination spreads
 16    becomes part of the CERCLA facility.” Id. (emphasis added).
 17           In Union Carbide Corp. v. Thiokol Corp., 890 F. Supp. 1035, 1043 (S.D. Ga.
 18    1994), the court refused to find that all hazardous waste on 3,000 acres of property,
 19    of varying origin, location, and level of risk, constituted one “facility” under
 20    CERCLA. The court then legally separated a landfill and other different areas of
 21    the 3,000-acre site into separate facilities because the areas were “geographically
 22    distinct”, contained a variety of wastes that were not present in the landfill, may
 23    require different removal and remedial actions than the landfill, and were not
 24    treated as part of a unitary CERCLA facility with the landfill. Thiokol Corp.,
 25    890 F. Supp. at 1043 (emphasis added).
 26           In Brooklyn Union Gas Co. v. Exxon Mobil Corp., 480 F. Supp. 3d 430, 442
 27    (E.D.N.Y. 2020), the court “found no authority . . . that treats an area containing
 28                                                       15
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   1   various structures that were never under common ownership or control and that does
   2   not involve contamination by a single contaminant as a single ‘facility.’” Id.
   3          In New York v. Gen. Elec. Co ., No. 14-CV-747, 2017 WL 1239638, at *21
   4   (N.D.N.Y. Mar. 31, 2017), the Court found that the subject two sites were not a
   5   single “facility” despite a “common source of contamination” because “[t]he
   6   properties were not operated as a single unit together” and “did not have a common
   7   owner at the time of the contamination”.
   8          The holdings of Niagara Mohawk, Alprof, Thiokol and Brooklyn Union
   9   dictate that this Court designate Exide Plant and the Residential Areas as separate
 10    facilities.
 11           NL recognizes that certain courts have found a “single site” under CERCLA,
 12    but have done so only where all properties are contiguous, owned by a single owner,
 13    or had a single source of contamination emanating from a single plant or two plants
 14    that were closely integrated. See e.g. U.S. v. Vertac Chemical Corp., 364 F. Supp.
 15    2d 941 (E.D. Ark. 2005)(the Court found a “single site” because one single plant
 16    caused all of the contamination.”); Ohio ex rel. Dewine v. Breen, 362 F. Supp. 3d
 17    420, 435 (S.D. Ohio 2019) (“Here, the parties agree that Buckeye was the sole
 18    source of contamination at the Neighboring Properties and the Site.”); Exxon Mobil
 19    Corp. v. United States, 108 F. Supp. 3d 486, 518 (S.D. Tex. 2015) (“The Ordnance
 20    Works had a sewer line leading to the refinery's “West Ditch” and exchanged
 21    byproducts with the refinery in an integrated fashion. (Docket Entry No. 67 at
 22    49)….But the close integration between the refinery and the Ordnance Works
 23    is enough to group them as one “facility” under CERCLA.”); Cytec Industries, Inc.
 24    v. the B.F. Goodrich Co., 232 F. Supp. 2d 821, 837 (S.D. Ohio 2002) (Court ruled
 25    that Cytec owned and operated the entire 54 acres and no other source of
 26    contamination, existed, as follows: “In the present matter, the "facility", as that term
 27    is defined under CERCLA, is the entire fifty-four-acre site on which Cytec, and
 28                                                       16
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   1   other owners and operators of the Marietta facility have operated a chemical
   2   plant and waste disposal area. All of the twenty-eight SWMUs identified by the
   3   USEPA are a result of the manufacturing activities conducted at the Marietta facility
   4   since the early part of the last century.”); Axel Johnson, Inc. v. Carroll Carolina Oil
   5   Co., 191 F.3d 409, 419 (4th Cir. 1999) (“Furthermore, the entire Refinery property
   6   was at all relevant times operated by a single party, and both the EPA and Axel
   7   itself treated the entire property as a single facility for CERCLA remediation
   8   purposes in the consent decree that they signed.”); U.S. v. Township, Brighton, 153
   9   F.3d 307, 322 (6th Cir. 1998) (“All contiguous land operating as a landfill
 10    constitutes a facility under CERCLA, regardless of whether hazardous substances
 11    occupy the entire site.”); MPM Silicones, LLC v. Union Carbide Corp., No. 1:11-
 12    CV-1542, 2016 WL 3962630, *26 (N.D.N.Y. July 7, 2016), vacated and remanded
 13    in part on other grounds, 966 F.3d 200 (2d Cir. 2020)(finding a single site because
 14    the property had the same source of contamination and the entire property has
 15    been operated by a single owner).
 16           But when the properties are not contiguous, do not have a common owner,
 17    were not operated as a single unit, or where the contamination did not come from a
 18    single source, courts have routinely found separate facilities. See e.g. Niagara
 19    Mohawk, Alprof, Thiokol, Brooklyn Union and U.S. v. Washington State Department
 20    of Transp, No. 08-5722RJB (W.D. Wash. Nov. 17, 2010)(stating that two properties
 21    should be treated as two separate facilities or two sites).
 22           The above cases also dictate that the Exide Plant and the Residential Areas be
 23    designated as separate facilities.
 24                                             CONCLUSION
 25           For the reasons set forth herein, NL requests this Court grant NL partial
 26    summary judgment in its favor and dismiss all claims that NL is responsible for any
 27    cleanup of the Residential Areas.
 28                                                       17
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   1                                  CERTIFICATE OF SERVICE
   2          I certify that on April 22, 2022, I electronically transmitted the foregoing
   3   document to the Clerk’s Office using the CM/ECF system, which will be sent
   4   electronically to all registered participants as identified on the Notice of Electronic
   5   Filing.
   6

   7                                                  By: /s/ Joel L. Herz
   8

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